Case 5:24-cv-00519-OLG-HJB Document14 _ Filed 02/11/25 Pagelof2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

MARK ORTEGA Individually and on
Behalf of All Others Similarly Situated,

Plaintiff,
Vv. SA-24-CV-519-OLG (HJB)

SECURE ONE CAPITAL CORPORATION,

Defendant.

CO? 67> COR Cor 602 Gon 60? 40? 2 402

ORDER

Before the Court is the status of this case in which pretrial and scheduling matters were
referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 12.)

Plaintiff, who is pro se, provided proof of service upon Defendant on June 20, 2024.
Although the time for answer or other responsive pleading has passed, Defendant has not answered
or responded to the complaint. On June 21, 2024, Plaintiff filed a Motion for Clerk’s Entry of
Default and subsequently a Default Entry by Clerk was entered on that same day. (See Docket
Entries 4, 5, and 6.)

It is hereby ORDERED that Plaintiff must file a Motion for Default Judgment against
Defendant on or before March 11, 2025.

It is FURTHER ORDERED that the U.S. Clerk of Court send a copy of the Clerk’s Entry
of Default (Docket Entry 6), and a copy of this Order to Defendant at the following address by
US. Certified Mail, Return Receipt Requested:

Secure One Capital Corporation

c/o Paracorp Incorporated

2804 Gateway Oaks Dr., Ste 100

Sacramento, CA 95833

(See Docket Entries 2, 3, and 4.)
Case 5:24-cv-00519-OLG-HJB Document14 _ Filed 02/11/25 Page 2of2

SIGNED on February 11, 2025.

Henry f. Dalat [
United StatesMagistrate Judge
